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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

UNITED STATES DigpRIcT COURT ®

for the

Ci2 4

TA. KA

Petitioner

Vs Case No.

(Supplied by Clerk of Court)

Ne ee eee

Li AA o. Spears (Der (oi ez

Respondent
(name of warden or authorized person having custody of petitioner)

PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241

Personal Information

1. (a) Your fullname: Carla Marie Conforto
(b) Other names you have used:
zo) Place of confinement:

 

(a) Name of institution; | Massachusetts Department of Children Familly

(b) Address:

 

 

 

(c) Your identification number: ot BSS
Are you currently being held on orders by: wy :

lad

 

  

[Federal authorities State authorities O Other - explain: xp
4, Are you currently: Se
OA pretrial detainee (waiting for trial on criminal charges) ; == = :
CServing a sentence (incarceration, parole, probation, etc.) after having been convicted of a offs = ii
= J
If you are currently serving a sentence, provide: > 17

(a) Name and location of court that sentenced you:

 

 

(b) Docket number of criminal case:
(c) Date of sentencing:

(Being held on an immigration charge
Other (explain): Petition is filed on behalf of her 3 year old twins

 

 

 

 

 

Decision or Action You Are Challenging

5. What are you challenging in this petition:
Ol How your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
revocation or calculation of good time credits)

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OPretrial detention

Immigration detention

1 Detainer

OThe validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
maximum or improperly calculated under the sentencing guidelines)

Disciplinary proceedings

(Other (explain):

 

 

 

6. Provide more information about the decision or action you are challenging:
(a) Name and location of the agency or court: Middlesex County Juvinile Court

 

 

(b) Docket number, case number, or opinion number: 19-cp- 0037ca

 

(c) Decision or action you are challenging (for disciplinary proceedings, specify the penalties imposed):

 

 

 

(d) Date of the decision or action:

 

Your Earlier Challenges of the Decision or Action

Be First appeal
Did you appeal the decision, file a grievance, or seek an administrative remedy?
Yes CINo
(a) If “Yes,” provide:
(1) Name of the authority, agency, or court: Massachusetts Court of Appeals

 

 

(2) Date of filing: 07/15/20 2O7O

(3) Docket number, case number, or opinion number: 2020-J-0310

(4) Result: denied

(5) Date of result: 07/15/2020

(6) Issues raised: Denial of Sixth Amendment rights; Denial of Fundimental fairness

 

 

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain why you did not appeal:

 

 

 

 

8. Second appeal
After the first appeal, did you file a second appeal to a higher authority, agency, or court?
OYes No

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(a) If “Yes,” provide:
(1) Name of the authority, agency, or court:

 

 

(2) Date of filing:

(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain why you did not file a second appeal:

 

 

 

9. Third appeal
After the second appeal, did you file a third appeal to a higher authority, agency, or court?
Yes No

(a) If “Yes,” provide:
(1) Name of the authority, agency, or court:

 

 

(2) Date of filing:

(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain why you did not file a third appeal:

 

 

 

10. Motion under 28 U.S.C. § 2255
In this petition, are you challenging the validity of your conviction or sentence as imposed?

Yes No

If “Yes,” answer the following:

(a) Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
Yes ONo

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11.

If “Yes,” provide:
(1) Name of court:
(2) Case number:
(3) Date of filing:
(4) Result:

(5) Date of result:
(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

(b) Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
seeking permission to file a second or successive Section 2255 motion to challenge this conviction or
sentence?

1 Yes . No
If “Yes,” provide:

(1) Name of court:

(2) Case number:

(3) Date of filing:

(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

(c) Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your
conviction or sentence:

 

 

 

 

 

 

 

Appeals of immigration proceedings
Does this case concern immigration proceedings?

 

 

OYes MNo
If “Yes,” provide:

(a) Date you were taken into immigration custody:

(b) Date of the removal or reinstatement order:

(c) Did you file an appeal with the Board of Immigration Appeals?
0 Yes ONo

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If “Yes,” provide:
(1) Date of filing:
(2) Case number:
(3) Result:

(4) Date of result:
(5) Issues raised:

 

 

 

 

 

 

 

 

 

 

(d) Did you appeal the decision to the United States Court of Appeals?
OlYes “No
If “Yes,” provide:
(1) Name of court:
(2) Date of filing:
(3) Case number:
(4) Result:
(5) Date of result:
(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

12. Other appeals
Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
raised in this petition?
OYes ZINo
If “Yes,” provide:
(a) Kind of petition, motion, or application:
(b) Name of the authority, agency, or court:

 

 

 

(c) Date of filing:

(d) Docket number, case number, or opinion number:
(e) Result:

(f) Date of result:

(g) Issues raised:

 

 

 

 

 

 

 

 

 

 

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Grounds for Your Challenge in This Petition
13, State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
facts supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE: Petitioner's Care and Protection proceeding regarding twin 3 year old children is proceeding
in complete disregard for the petitioner's Sixth Amendmend Rights. U.S. Const. Amend. 6

(a) Supporting facts (Be brief Do not cite cases or law.):

Seé GHachment Gruden and Aamd Tre

(b) Did you present Ground One in all appeals that were available to you?
es CNo

GROUND TWO: Lower court's decision to discharge counsel and deny appointment of new counsel on the same

day as trial is so unfair as to violate princples of fundimental fairness enshrined in the 14th Amendment's Due
Process Clause. Const Amend. 14

 

 

 

(a) Supporting facts (Be brief Do not cite cases or law.): - Oo

es ONo

GROUND THREE:

 

 

(a) Supporting facts (Be brief Do not cite cases or law.):

 

 

(b) Did you present Ground Three in all appeals that were available to you?
OYes CINo

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GROUND FOUR:

 

 

 

 

 

 

(a) Supporting facts (Be brief’ Do not cite cases or law.):

 

 

 

 

 

 

(b) Did you present Ground Four in all appeals that were available to you?
Yes CINo

14. If there are any grounds that you did not present in all appeals that were available to you, explain why you did

not:

 

 

 

 

Request for Relief

15. State exactly what you want the courttodo: §¢€¢ attachnent WITH EMERGENCY | NS UNCTIVIE
RELIEF

 

 

 

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Declaration Under Penalty Of Perjury

If you are incarcerated, on what date did you place this petition in the prison mail system:

 

I declare under penalty of perjury that I am the petitioner, I have read this petition or had it read to me, and the ;
information in this petition is true and correct. I understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.

  

aca Mace (in bro

Signature of Petitioner

Date: [July 2020

 

Signature of Attorney or other authorized person, if any

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